                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION


------------------------------------------------------------X
JACOB DOE
                                Plaintiff,

      -against-                                                  No. 1:23-cv-00041

THE UNIVERSITY OF NORTH CAROLINA
SYSTEM, et al.
                                Defendants.
-------------------------------------------------------------X

                                          STIPULATION


        It is hereby stipulated by the Plaintiff, JACOB DOE; by Defendant BOARD OF

GOVERNORS OF THE UNIVERSITY OF NORTH CAROLINA, incorrectly designated

as UNIVERSITY OF NORTH CAROLINA BOARD OF TRUSTEES; and by Defendant

UNIVERSITY OF NORTH CAROLINA AT CHAPEL HILL BOARD OF TRUSTEES ,

incorrectly designated as BOARD OF GOVERNORS OF THE UNIVERSITY OF

NORTH CAROLINA AT CHAPEL HILL, by and through their undersigned counsel that

the above-captioned case shall be amended by correcting the names of these Defendants

wherever they appear throughout the record of the case. The above-captioned matter shall

now read as follows:




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JACOB DOE
     Plaintiff,

                            -against-

THE UNIVERSITY OF NORTH CAROLINA SYSTEM, THE UNIVERSITY OF
NORTH CAROLINA AT CHAPEL HILL, BOARD OF GOVERNORS OF THE
UNIVERSITY OF NORTH CAROLINA, UNIVERSITY OF NORTH CAROLINA AT
CHAPEL HILL BOARD OF TRUSTEES, KEVIN GUSKIEWICZ, in his official capacity,
ELIZABETH HALL, individually and in her official capacity, JEREMY ENLOW,
individually and in his official capacity, BETH FROEHLING, individually and in her official
capacity, REBECCA GIBSON, individually and in her official capacity, JACLYN FEENEY,
individually and in her official capacity, DAVID ELROD, individually and in his official
capacity, and DESIREE RIECKENBERG, individually and in her official capacity,
       Defendants.

       It is hereby further stipulated and restated that the Board of Governors of the
University of North Carolina’s and the University of North Carolina at Chapel Hills Board
of Trustees’ deadlines to file responsive pleadings and responses to Plaintiff’s Motion to
Proceed under Pseudonym are through and including May 8, 2023 as stated in the Court’s
March 27, 2023 Text Orders.

   Respectfully submitted this 11th day of April 2023 by:

                            COUNSEL FOR PLAINTIFF JACOB DOE:

                                   Nesenoff & Miltenberg, LLP

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                                          -and-
                                             2
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                     Ekstrand & Ekstrand LLP

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               COUNSEL FOR DEFENDANT BOARD OF
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                     /s/ Jeremy David Lindsley
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                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION


------------------------------------------------------------X
JACOB DOE
                                Plaintiff,

      -against-                                                        No. 1:23-cv-00041

THE UNIVERSITY OF NORTH CAROLINA
SYSTEM, et al.
                                Defendants.
-------------------------------------------------------------X


                                 CERTIFICATE OF SERVICE
        I hereby certify that on April 11th, 2023, I electronically filed the foregoing
Stipulation and Proposed Order with the Court using the CM/ECF system and, further, that
all parties to this action have counsel of record who are registered to receive Notices of
Electronic Filing in this action.


                                                    /s/ Robert C. Ekstrand     .
                                                     Robert C. Ekstrand




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